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IN THE UNITED sTATEs DIsTRIcT cOURT F“-ED B""- °'°"'

FOR THE WESTER_N DISTRICT OF TENNESSEE

 

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THCMSM.GOULD
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UNITED STATES oF AMERICA, x Wj@ Om.i‘_;.;§§h.;p;»igg
X
Plaintiff, X
X
vs. X Cv. No. 03-2485-Ma
X cr. No. 92-20254(G)
JUAN wINsTON, x
X
Defendant. X
X

 

ORDER DENYING MOTION UNDER 28 U.S.C. § 2255
ORDER DENYING CERTIFICATE OF APPEALABILITY
AND, AL'I`ERNATIVELY,

ORDER DENYING PETI'I'ION UNDER § 2241
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

Defendant Juan Winston, through counsel, has filed a motion
under 28 U.S.C. § 2255 challenging his drug trafficking conviction
and sentence for violating 21 U.S.C. § 846 and 21 U.S.C. §
84l(a)(l). In September of 1992, defendant and three co-defendants
were indicted by a federal grand jury. A jury determined that
Winston was guilty of conspiracy to possess cocaine base with the
intent to distribute and aiding and abetting the possession of
cocaine base with the intent to distribute.

Subsequently, United States District Judge Gordon J. Quist
imposed a sentence of mandatory life imprisonment pursuant to 21
U.S.C. § B4l(b)(1)(AJ. Winston.appealed challenging the sufficiency
of the evidence against him and the sentence imposed. The Sixth
Circuit Court of appeals determined that Winston's challenge to the

sufficiency of the evidence was meritless. However, the Court

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determined that the District Court had improperly sentenced Winston
to life as a career offender and remanded his case for resentencing.
United States v. Winston, 37 F.3d 235 (Sixth Cir. Oct. 5. 1994).

On remand, United States District Judge Julia Gibbons imposed
a sentence of thirty years imprisonment, the minimum sentence under
the United States Sentencing Guidelines. Winston appealed his
sentence contending that the original presiding judge was required
to conduct the resentencing hearing and that his sentence for
trafficking in crack cocaine was inconsistent with the applicable
statute and the Sentencing Commission’s Congressional mandate. The
Sixth Circuit affirmed his sentence. United States v. Winston, 1996
WL 306572 (6th Cir. June 6, 1996). Winston did not file a petition
for certiorari.

Winston filed this motion pursuant to § 2255 on June 27, 2003.
Winston contends:

that counsel was ineffective by failing:

1) to file a post-verdict motion for judgment of
acquittal;
2) to raise the district court’s denial of a mistrial as an

issue on direct appeal; and
that his conviction. violated the principles set forth in
Apprendi v. New Jersey, 530 U.S. 466 (2000). Furthermore, should
the Court determine that Winston's motion to vacate is barred by the
statute of limitations enacted by the Antiterrorism and Effective
Death Penalty Act Of 1996, Pub. L. NO. 104-132, llO Stat. 1214 (Apr.
24, 1996) (codified, inter ali§, at 28 U.S.C. § 2244 §§ §§g;)

(AEDPA), he seeks a determination that the statute of limitations

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is unconstitutional. Alternatively, if his motion is time-barred,
he seeks consideration of his issues under 21 U.S.C. § 2241.

The AEDPA created a statute of limitations for filing habeas
petitions under § 2255. Because this petition was filed after April
24, 1996, the AEDPA is applicable. See Lindh v. Murphv, 521 U.S.
320, 336 (1997). The Court should consider this statute of
limitations as a threshold matter. Holloway v. Corcoran,r 980 F.
Supp. 160, 161 (D. Md. 1997), app. dismissed, 161 F.3d 1155 (4th
Cir. 1998); Bronaugh v. Ohio, 235 F.3d 280 (6th Cir. 2000).

The relevant portion of 28 U.S.C. § 2255 provides:

A 1-year period of limitation shall apply to a motion

under this section, The limitation period shall run from

the latest of~

(l) the date on which the judgment of
conviction becomes final;

(2) the date on which the impediment to making
a motion created. by governmental action in
violation of the Constitution or laws of the
United States is removed, if the movant was
prevented from making a motion by such
governmental action;

(3) the date on which the right asserted was
initially recognized by the Supreme Court, if
that right has been newly recognized by the
Supreme Court and made retroactively applicable
to cases on collateral review; or

(4) the date on which the facts supporting the
claim or claims presented could have been
discovered through the exercise of due
diligence.

“[F]or purposes of collateral attack, a conviction becomes

 

final at the conclusion of direct review.” Johnson v. United
States, 246 F.3d 655, 657 (6th Cir. 2001). In this case, Winston's

conviction became final no later than September 4, 1996, the last

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day on which he could have filed petition for certiorari with the
United States Supreme Court. Accordingly, the limitations period
expired on September 4, 1997, unless one of the conditions set forth
above is applicable. Winston's motion was filed on June 27, 2003,
and it would, therefore, appear to be untimely.

Winston's contention that the AEDPA one year statute of
limitations is unconstitutional is without merit. Although
statutory retroactivity has “long been disfavored,” Landgraf v. USI

Film Prods., 511 U.S. 244, 268 (1994), retroactivity concerns

 

generally do not bar the application of a changed limitation period
to a suit that is filed after the amendment’s effective date. gee
United States v. Simmonds, 111 F.3d 737, 45 (10th Cir. 1997)(citing
Forest v. United States Postal Service, 97 F.3d 137, 139-40(6th Cir.
1996)). Furthermore, “a statute does not operate ‘retrospectively'
merely because it is applied in a case arising from conduct
antedating the statute's enactment or upsets expectations based on
prior law.” Landgraf, 511 U.S. at 269(citations omitted). Although
the events underlying Winston's conviction antedate the AEDPA, the
application of the limitation period does not attach “new legal
consequences to events completed before its enactment.” ;Q; The
limitation period applied to Winston's filing of a motion under §
2255, which occurred after the enactment of the statute; as a
result, the application of the limitation period is prospective and
not retroactive. gee ig;

In Dunlap v. United States, 250 F.3d 1001, 1004 (6th Cir.

2001), the Sixth Circuit held that the one~year limitations period

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applicable to § 2255 motions is a statute of limitations subject to
equitable tolling. Five factors are relevant to determining the
appropriateness of equitably tolling a statute of limitations:

(l) the petitioner's lack of notice of the filing

requirement; (2) the petitioner's lack of constructive

notice of the filing requirement; (3) diligence in
pursuing one’s rights; (4) absence of prejudice to the
respondent; and (5) the petitioner’s reasonableness in
remaining ignorant of the legal requirement for filing

his claim.

Id. at 1008. This five-factor standard is identical to the test
used to determine whether equitable tolling is appropriate in other
contexts, including employment discrimination cases. Amini v.
Oberlin College, 259 F.3d 493, 500 (6th Cir. 2001) (citing Dunlap);
Truitt v. Countv of Wayne, 148 F.3d 644, 648 (6th Cir. 1998).

The Sixth Circuit has repeatedly made clear its view that
“equitable tolling relief should be granted only sparingly;” .Amini,
259 F.3d at 500.

Typically, equitable tolling applies only when a

litigant's failure to meet a legally-mandated deadline

unavoidably arose from circumstances beyond that
litigant's control. . . . Absent compelling equitable
considerations, a court should not extend limitations by

even a single day.

Graham-Humphrevs v. Memphis Brooks Museum, Inc., 209 F.3d 552, 560-
61 (6th Cir. 2000); see also King v. United States, 63 Fed. Appx.
793, 795 (6th Cir. Mar. 27, 2003); Johnson v. U.S. Postal Serv., No.
86-2189, 1988 WL 122962 (6th Cir. Nov. 16, 1988) (refusing to apply
equitable tolling when.pro §§ litigant missed filing deadline by one
day). Thus, ignorance of the law by pro §§ litigants does not toll
the limitations period. Harrison v. I.M.S., 56 Fed. Appx. 682, 685-

86 (6th Cir. Jan. 22, 2003); Miller v. Cason, 49 Fed. Appx. 495, 497

 

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(6th Cir. Sept. 27, 2002) (“Miller's lack of knowledge of the law
does not excuse his failure to timely file a habeas corpus
petition.”); Brown v. United States, 20 Fed. Appx. 373, 374 (6th
Cir. Sept. 21, 2001) (“Ignorance of the limitations period does not
toll the limitations period.”). l

Winston contends that he “was unaware of any deadline for
challenging his attorney's errors” and “only recently understood
that he had the grounds for raising the constitutional issues”
presented in this motion. However, the issues that counsel was
ineffective by failing to file a post-trial motion for judgment of
acquittal and by failing to raise the trial court’s denial of
counsel’s motion for mistrial on appeal were not only discoverable
during'Winston's direct appeals, those issues were readily apparent.
Winston fails to allege any circumstance which establishes either
due diligence or the reasonableness of remaining ignorant of the
filing requirement for his issues of ineffective assistance.

Winston’s Apprendi issue provides no basis for equitable
tolling. Apprendi is not retroactively applicable to cases on
collateral review. Goode v. United States, No. 01-1340, 2002 WL
987905 (6th Cir. May 10, 2002); see also Oleson v. United States,
NO. 00-1938, 2001 WL 1631828, at *3-*4 (6th Cir. Dec. 14, 2001)
(district court did not abuse its discretion in denying a motion to
amend a § 2255 motion to assert an Apprendi claim because amendment
would have been futile); Snvder v. United States, No. 01-1258, 2001
WL 1298954, at *2 (6th Cir. Aug. 7, 2001) (upholding dismissal of

§ 2255 motion because, inter alia, “ pprendi may not be applied

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retroactively”); Jones v. United States, No. 00-5280, 2001 WL
92114, at *2 (6th Cir. Jan. 25, 2001) (directing the district court
to “determine whether Apprendi may be retroactively applied to this
case under Teague v. Lane”); United States v. Murrav, No. 98-1537,
2001 WL 118605, at *2-*3 (6th Cir. Jan. 25, 2001) (recalling mandate
to permit application of Apprendi to case in which certiorari had
recently been.denied; noting that, with respect to those “defendants
whose convictions became final before Apprendi was handed down, the
new rule would.not be retroactively applicable” and that this action
“involves a tiny subset of situations in which.this court’s decision
has been entered, but has not yet become final due to a pending
petition for rehearing en banc or for certiorari”); §§e“al§g lg_;§
Clemmons, 259 F.3d 489 (6th Cir. 2001) (holding, on the basis of
Tyler v. Cain, 533 U.S. 656 (2001), that App;§ngi has not been “made
retroactive to cases on collateral review by the Supreme Court”, 28
U.S.C. § 2255, and, therefore, it may not form the basis for a

second or successive § 2255 motion); White v. Lamanna, No. 01-4051,

 

2002 WL 857739, at *2 (6th Cir. May 3, 2002) (applying Tyler and
Clemmons to deny consideration of an Apprendi issue raised in a

petition pursuant to 28 U.S.C. § 2241); Perkins v. Thomas, No. 01~

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5432, 2001 WL 1178279 (6th Cir. Sept. 24, 2001) (Same).l Thus,
Apprendi fails to provide Winston with any basis for relief.

Finally, despite counsel’s argument, Winston’s poverty and
inability to hire counsel are irrelevant to the tolling decision
because there is no right to counsel during post-conviction
proceedings. Coleman v. Thompson, 501 U.S. 722, 752 (1984); Johnson
v. Avery, 393 U.S. 483, 488 (1969). The right to appointed counsel
extends to the first appeal of right, and no further. Pennsylvania
v. Finley, 481 U.S. 551, 554 (1987). Ineffective assistance of
counsel is irrelevant to the tolling decision. Accordingly, the
Court determines upon examination of the record as a whole that
Winston has failed to establish. or demonstrate any “rare and
exceptional circumstances” permitting equitable tolling.

The motion, together with the files and record in this case
"conclusively show that the prisoner is entitled to no relief." 28
U.S.C. § 2255. See also Rule 4(b), Rules Governing Section 2255
Proceedings in the United States District Courts. Therefore, the
court finds that a response is not required from the United States
Attorney and that the motion may be resolved without an evidentiary

hearing. United States v. Johnson, 327 U.S. 106, 111 (1946); Baker

 

1 These unpublished decisions are consistent with the decisions in

other circuits refusing to give retroactive application to Apprendi. §gg Hamm
v. United States, 269 F.3d 1247 (11th Cir. 2001); Dukes v. United States, 255
F.3d 912 (Bth Cir. 2001); United States v. MOSS, 252 F.3d 993, 996-1001 (Sth Cir.
2001); United States v. Sanders, 247 F.3d 139, 146-51 (4th Cir. 2001); Jones v.
smith. 231 F.3d 1227, 1236-38 (ch cir. 2000); g;L United states v. smith, 241
F.3d 546 (7th Cir. 2001) (declining to decide whether Apprendi is retroactively
applicable on collateral attack because defendant could not establish cause and
prejudice sufficient to excuse his failure to raise the issue at trial and on
direct review).

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v. United States, 781 F.2d 85, 92 (6th Cir. 1986). Defendant's

 

conviction and sentence are valid and his motion is DENIED.

Consideration must also be given to issues that may occur if
the defendant files a notice of appeal. Twenty-eight U.S.C. §
2253(a) requires the district court to evaluate the appealability
of its decision denying a § 2255 motion. Section 2255 now
incorporates the old habeas procedure of issuing or denying a
certificate of probable cause, now renamed a certificate of
appealability. No § 2255 movant may appeal without this
certificate.

Lvons v. Ohio Adult Parole Auth., 105 F.3d 1063, 1073 (6th Cir.
1997), held that district judges may issue certificates of
appealability under the AEDPA. The Court also held that AEDPA
codifies in amended § 2253 the standard for issuing a certificate
of probable cause found in prior § 2253, which was essentially a
codification of Barefoot v. Estelle, 463 U.S. 880, 893 (1983). gee
Lygg§, 105 F.3d at 1073.

[P]robable cause requires something more than the absence

of frivolity . . . and the standard for issuance of a
certificate of probable cause is a higher one than the
‘good faith' requirement of § 1915. . . . [A] certificate

of probable cause requires petitioner to make a
substantial showing of the denial of [a] federal right.
[A] question of some substance, or a substantial showing
of the denial of [a] federal right, obviously [does not
require] the petitioner [to] show that he should prevail
on the merits. He has already failed in that endeavor.
Rather, he must demonstrate that the issues are debatable
among jurists of reason; that a court could resolve the
issues in a different manner; or that the questions are
adequate to deserve encouragement to proceed further.

Barefoot, 463 U.S. at 893 (internal quotations and citations

omitted). In this case, the defendant’s claims are clearly barred

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by the AEDPA statute of limitations, and. he cannot present a
question of some substance about which reasonable jurists could
differ. The Court therefore denies a certificate of appealability.

The Prison Litigation Reform Act of 1995 (“PLRA”), 28 U.S.C.
§ 1915(a)(3), does not apply to appeals of orders denying § 2255
motions. Hereford v. United States, 117 F.3d 949, 951 (6th Cir.
1997); cf. McGore v. Wrigglesworth, 114 F.3d 601, 610 (6th Cir.
1997) (instructing courts regarding proper PLRA. procedures in
prisoner civil-rights cases). Rather, to seek leave to appeal ip
forma pauperis in a § 2255 case, and thereby avoid the $255 filing
fee required by 28 U.S.C. §§ 1913 and 1917,2 the prisoner must seek
permission from the district court under Fed. R. App. P. 24(a).
Hereford, 117 F.3d at 952. If the motion is denied, the prisoner
may renew the motion in the appellate court.

Rule 24(a) states_l in pertinent part that:

A party to an action in a district court who desires to

proceed on appeal ip forma pauperis shall file in the

district court a motion for leave to so proceed, together

with an affidavit, showing, in the detail prescribed by

Form 4 of the Appendix of Forms, the party's inability to

pay fees and costs or to give security therefor, the

party's belief that that party is entitled to redress,

and a statement of the issues which that party intends to
present on appeal.

 

2 The fee for docketing an appeal is $250. See Judicial Conference

Schedule of Fees, j 1, Note following 28 U.S.C. § 1913. Under 28 U.S.C. § 1917,
a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the clerk of the district court, by the appellant
or petitioner.

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The Rule further requires the district court to certify in writing
whether the appeal is taken in good faith. For the same reasons the
Court denies a certificate of appealability, the Court determines
that any appeal in this case would not be taken in good faith. It
is therefore CERTIFIED, pursuant to Fed. R. App. P. 24(a), that any
appeal in this matter by this defendant is not taken in good faith,
and he may not proceed on appeal ip fp;mg pauperis.

Because a 2255 motion is foreclosed by the AEDPA statute of
limitations, the petitioner seeks alternatively to characterize this
case as a habeas petition under 2241. The only reason for this
characterization, however, is the need to avoid the limitations
period enacted by the AEDPA. Generally, habeas corpus is available

if "the issues raised more accurately challenged the execution of

 

the sentence than its imposition." Wriqht v. United States Bd. of
Parole, 557 F.2d 64, 78 (6th Cir. 1977). On the other hand,
"[s]ection 2255 . . . has been conceived to be limited to those

claims which arise from the imposition of the sentence as
distinguished from claims attacking the execution of the sentence."
ldp at 77. pr United States v. Jalili, 925 F.2d 889, 893 (6th Cir.
1991)("Because defendant Jalili is challenging the manner in which
the sentence is executed, rather than the validity of the sentence
itself, Section 2255 does not apply."). It is clear from Wright and
Jalili that true attacks on the "execution" of a sentence relate to
BOP decisions affecting the duration of the sentence and that such

attacks accept, as a matter of course, the validity of the original

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underlying conviction and sentence. Winston's petition does not
challenge the execution of his sentence, but attacks its imposition.

Habeas corpus will lie, however, if it "appears that the remedy
by motion is inadequate or ineffective to test the legality of his
detention." 28 U.S.C. § 2255. This “savings clause" operates as
an additional exception to the successive motion limits of the AEDPA
and permits review by a habeas petition in an even more narrow
category of cases.

The movant has the burden of demonstrating that the savings
clause applies. Charles v. Chandler, 180 F.3d 753, 56 (1999). The
§ 2255 remedy is not inadequate or ineffective, for example, merely
because the motion is barred by the statute of limitations.
Charles, 180 F.3d at 756-58. Rather, if the claim is of a type that
was cognizable under § 2255, the remedy is not inadequate or
ineffective, regardless of whether the movant can obtain a
substantive review on the merits in the present motion. As
suggested by Grav-Bev v. United States, 209 F.3d 986, 990 (7th Cir.
2000), in considering the scope of collateral remedies remaining to
federal prisoners after the AEDPA, "§ 2255 1 8 means . . . that
prisoners today are never entitled to multiple collateral attacks,
so that their inability to obtain another round of litigation cannot
demonstrate that § 2255 as a whole is ‘inadequate or ineffective to
test the legality of . . . detention.’"

Federal law providing for collateral review of conviction and
sentence does not guarantee that every prisoner will obtain a review

on the merits of a constitutional claim, but that every prisoner

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will at some point have the opportunity for such review. Seel e.g.,
Wofford v. Scott, 177 F.3d 1236, 1244 (11th Cir. 1999). According
to Wofford, the entire federal criminal procedure statutory scheme,
encompassing trial, direct appeal, and one opportunity for
collateral review, ensures that "a petitioner will have had 'an
unobstructed procedural shot at getting his sentence vacated.' That
does not mean that he took the shot . . . the Constitution requires
[only] that the procedural opportunity existed." Id. (quoting lp
Re Davenport, 147 F.3d 605, 609 (7th Cir. 1998)) .

Wofford held that the "inadequate or ineffective" savings
clause applies to permit a prisoner to set aside a conviction when
1) the claim is based upon a retroactively applicable
Supreme Court decision; 2) the holding of that Supreme
Court decision establishes the petitioner was convicted
for a nonexistent offense; and, 3) circuit law squarely
foreclosed such a claim at the time it otherwise should
have been raised in the petitioner's trial, appeal, or

first § 2255 motion.
Wofford, 177 F.3d at 1244.
Winston attacks his sentence alleging that he is entitled to

relief under Apprendi v. New Jersev, 530 U.S. 466 (2000). Although

Winston can. make a ;prima facie showing that Apprendi was not

 

available to him during the applicable one-year limitations period
for a motion to vacate and presents a new constitutional rule of
criminal procedure, he cannot demonstrate that Apprendi has been
“made retroactively applicable to cases on collateral review.” 28
U.S.C. § 2255. New rules of constitutional criminal procedure are

generally not applied to cases on collateral review. Teague v.

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papg, 489 U.S. 288 (1989). As analyzed in the forgoing section,
Apprendi fails to provide Winston with any basis for relief.
Winston's claim of actual innocence is specious. Winston
contends that he was convicted because the admission.of inadmissible
and highly prejudicial testimony where an officer twice referred to
statements of a co-defendant that had been rendered.inadmissible for
trial. Counsel objected to the statements, and properly requested
a mistrial, but the district court denied the request. Appellate
counsel failed to raise the issue on either direct appeal. Although
the Sixth Circuit noted in the first appeal that the question of
whether the trial court should have granted Winston’s motion for
mistrial was a close question, the Court also determined the record
included sufficient evidence to sustain his conviction. The
evidence included a recorded statement of co-defendant Scott, in
which Scott stated that the drugs would arrive in five minutes in
either a gold or silver Cadillac, and eyewitness testimony that
Winston's gold Cadillac pulled into the parking lot five minutes
later. Winston testified at trial that he brought drugs in the
Cadillac to the parking lot and stated during his arrest that crack

cocaine uncovered at his residence belonged to him. United States

 

v. Winston, 37 F.3d at 239.

In Workman v. Bell, 227 F.3d 331, 342 (6th Cir. 2000), on a

 

motion for rehearing en banc, the Sixth Circuit divided equally,
with Judge Siler, joined by six other judges, wrote in dicta that
“if a prisoner purposefully or by inadvertence lets the time run

under which he could have filed his petition, he cannot file a

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petition. beyond the statutory time, even. if he claims actual
innocence.” ldp (Siler, J. opinion opposing reh'g en banc).
Furthermore, it is clear that an actual innocence claim requires
"factual innocence, not mere legal insufficiency." 'Bousley v.

United States, 523 U.S. 614, 623-24 (1998); Hilliard v. United

 

States, 157 F.3d 444, 450 (6th Cir. 1998). The movant must show
that "a constitutional violation. has probably resulted in the
conviction of one who is actually innocent of the crime." Murray

v. Carrier, 477 U.S. 478, 496 (1986). Winston has not made such a

 

showing and is not entitled to relief under § 2241 on his claim.

Because Winston is not entitled to invoke § 2241, "it appears
from the application that the applicant or person detained is not
entitled" to any relief. 28 U.S.C. § 2243. An order for the
respondent to show cause need not issue. The petition is DENIED and
DISMISSED.

Twenty-eight U.S.C. § 2253 does not apply to habeas petitions
by federal prisoners under § 2241. McIntosh v. United States Parole
COmm'n, 115 F.3d 809, 810 (10th Cir. 1997); OjO V. I.N.S., 106 F.3d
680, 681-82 (Sth Cir. 1997); Bradshaw V. StOrV, 86 F.3d 164, 166
(10th Cir. 1996). However, to seek leave to appeal ip fp;ma

pauperis in a § 2255 or § 2241 case,3 and thereby avoid the $255

 

3 Under the Prison Litigation Reform Act of 1995 (PLRA), 28 U.S.C. §

1915. it is unclear how habeas petitioners establish a right to proceed ip forma
pauperis and avoid this filing fee. Although the Sixth Circuit has concluded
that the various filing fee payment requirements and good faith certifications
of amended § 1915 do not apply to § 2254 cases. it has not resolved whether these
requirements apply to § 2241 cases. Kincade v. Sparkman, 117 F.3d 949, 951-52
(6th Cir. 1997). Cf. McGore v. Wriqqlesworth, 114 F.3d 601 (6th Cir.
1997)(instructing courts regarding proper PLRA procedures in prisoner civil-
rights cases, without mentioning § 2241 petitions). The Tenth Circuit, however,
has held that the provisions of the PLRA do not apply to habeas cases of any sort

 

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filing fee required by 28 U.S.C. §§ 1913 and 1917, the prisoner must
seek permission from the district court under Fed. R. App. P. 24(a).
Rule Fed. R. App. 24(a) states, in pertinent part that:
A party to an action in a district.court who desires to
proceed on appeal ip forma pauperis shall file in the
district court a motion for leave to so proceed, together
with an affidavit, showing, in the detail prescribed by
Form 4 of the Appendix of Forms, the party's inability to
pay fees and costs or to give security therefor, the
party's belief that that party is entitled to redress,
and a statement of the issues which that party intends to
present on appeal.
The Rule further requires the district court to certify in writing
whether the appeal is taken in good faith, and to deny the

certificate if the appeal would be frivolous.

The good faith standard is an objective one. Coppedge v.

United States, 369 U.S. 438, 445 (1962). An appeal is not taken in

 

good faith if the issue presented is frivolous. pdp lt would be
inconsistent for a district court to determine that a complaint does
not warrant service, yet has sufficient merit to support an appeal
ip_fpppg,pauperis. See Williams v. Kullman, 722 F.2d 1048, 1050 n.1
(2d Cir. 1983). Construing this filing as a § 2255 motion, the same
reasons for which the Court denies a certificate of appealability
compel the conclusion that any appeal would not be taken in good

faith. Alternatively, construing the filing as a habeas petition,

 

or to § 2255 motions. See McIntosh, 115 F.3d at 810; United States v. Simmonds,

111 F.3d 737, 743 (10th Cir. 1997). An unpublished Sixth Circuit opinion has
adopted this approach in affirming a decision from this district. Graham v. U.S.
Parole Com'n, No. 96-6725, 1997 WL 778515 (6th Cir. Dec. 8, 1997), aff'g, Graham
v. United States, No. 96-3251-Tu (W.D. Tenn. Dec. 4, 1996). Because the Court

finds the reasoning of McIntosh.persuasive, and because the Court finds that this
conclusion naturally follows from the Sixth Circuit's decision in Kincade, the
Court concludes that the PLRA does not apply to § 2241 petitions.

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the same considerations that lead the Court to dismiss the petition
also compel the conclusion that an appeal would not be taken in good
faith. It is therefore CERTIFIED, pursuant to F.R.A.P. 24(a), that
any appeal in this matter by petitioner is not taken in good faith,

and he may not proceed on appeal ip forma pauperis.

IT Is so 0RDERED this Q*‘H\ day of Aug st, Y)S.
sAMUsL H. MAYS, JR.
UNITED sTATEs DISTRICT JUDGE

 

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UNITED`TATES DISTRICT COURT - WESRTEN DIRITSTC oFTNNESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

